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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 ROBERT KIRK, Individually and on Behalf        )
 of All Others Similarly Situated,              )
                                                )
                       Plaintiff,               )
                                                )    Case No. 1:18-cv-01455-CFC
         v.                                     )
                                                )
 THE DUN & BRADSTREET                           )
 CORPORATION, CINDY CHRISTY, L.                 )
 GORDON CROVITZ, JAMES N.                       )
 FERNANDEZ, PAUL R. GARCIA,                     )
 ANASTASSIA LAUTERBACH,                         )
 THOMAS J. MANNING, RANDALL D.                  )
 MOTT, and JUDITH A. REINSDORF,                 )
                                                )
                       Defendants.              )
                                                )
                                                )

                          NOTICE OF VOLUNTARY DISMISSAL

        In accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Robert Kirk,

by counsel, hereby gives notice that he is dismissing all claims in the above-referenced matter,

with prejudice to himself and without prejudice as to all others similarly situated. Because this

notice of dismissal is being filed with the Court before service by defendants of either an answer

or a motion for summary judgment, Plaintiff’s dismissal of the Action is effective upon the filing

of this notice.

Dated: December 10, 2018

                                                    Respectfully submitted,

                                                    FARUQI & FARUQI, LLP

                                                    By: /s/ Michael Van Gorder
                                                    Michael Van Gorder (#6214)
                                                    3828 Kennett Pike
                                                    Suite 201
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